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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                              CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

                Debtor                                        CHAPTER 11



                MOTION FOR EXTENSION OF TIME TO FILE MONTHLY
                             OPERATING REPORT

        TO THE HONORABLE COURT:

                COMES NOW Debtor through its undersigned counsel and very respectfully

        states and prays:

                1.    On September 12, 2018, Debtor filed its voluntary petition for

        reorganization under the provisions of Chapter 11 of the Bankruptcy Code, and as of

        that date has been operating its business and managing its affairs as a debtor in

        possession, as provided for in the Bankruptcy Code. See Docket No. 1.

                2.    The monthly operating report corresponding to the month of

        September 2019 is due on or about today October 21, 2019. However, insofar as

        Debtor has been immersed in the preparation for today’s hearing to discuss the

        motion for appointment of a Chapter 11 Trustee, Debtor will be unable to conclude

        the drafting of the September operating report within the aforementioned deadline.

                3.    As such, Debtor hereby request an extension of four (4) days, i.e. until

        October 25, 2019, to file the monthly operating report for the month of September

        2019.
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              WHEREFORE, it is respectfully requested that this Court grants Debtor

        until October 25, 2019 to file its monthly operating report for the month of

        September 2019.

              CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF

        systems, which will send notification of such filing to the Office of the United

        States Trustee, and all participants of CM/EMF.


              San Juan, Puerto Rico, this 21st day of October, 2019.


                                                 s/ Alexis Fuentes-Hernández, Esq.
                                                 Alexis Fuentes-Hernández, Esq.
                                                 USDC-PR 217201

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